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               EXHIBIT 10
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24                                                                                                                                                                                       MAY 16, 2022




                       MILESTONES
                                                                                                   in the U.S. and Europe to fulﬁll newly              Campion said that despite the well-
                                                                                                   implemented features such as curbside            publicized global supply chain issues that
                                                                                                   pickup or buy online, pick up in store           have handcuﬀed much of the industry
                                                                                                   and no rush shipping to emphasize                for months, Nike is hanging tough. “On
                                                                                                   sustainability. These include centers in Los     the one hand, the supply chain is more
                                                                                                   Angeles, Bethlehem, Pa., and Madrid, with        productive than ever in the amount of
                                                                                                   Dallas coming on board later this year. The      goods being produced — I think it was up
                                                                                                   goal is to get product in customers’ hands       8 percent last year and that’s not in price,
                                                                                                   within four days or less.                        that’s in units. Demand is incredibly strong
                                                                                                      “We said we’ve really got to accelerate       and we’ve got three to four times greater
                                                                                                   our technology transformation, our               digital commerce distribution capability
                                                                                                   technologies are too fragmented,” he             than we had two years ago.”
                                                                                                   explained. The company needs platforms              He said since Phil Knight founded
                                                                                                   that more eﬀectively connect all its parts,      the company a half century ago, “he’s
                                                                                                   whether that’s inventory in stores, on apps      always wanted to build the greatest, most
                                                                                                   or purchased through mobile devices.             enduring company — the greatest in all
                                                                                                      Campion used this analogy to explain          facets, not just ﬁnancial, but impact on the
                                                                                                   the thinking: “Sometimes when you                world. When we look at the next 50 years,
                                                                                                   think about things like supply chain and         we’ve got to be driving an end-to-end
                                                                                                   technology, it’s like the power company.         transformation that extends beyond our
                                                                                                   I don’t know how it works, but I’m pretty        enterprise and into our ecosystems.” That
                                                                                                   ticked oﬀ when it goes out.”                     includes addressing everything from social
                                                                                                      So to further its eﬀorts, Nike last month     injustice to climate change — anything that
                                                                                                   said it will open a technology center in         can impact consumers’ abilities to play
                                                                                                   Atlanta next year with a focus on logistics      sport.
                                                                                                   and supply chain, cybersecurity and the             Returning to the supply chain, Campion
                                                                                                   exploration of artiﬁcial intelligence and        said that although Nike’s ﬁnished-
                                                                                                   machine learning — two emerging areas in         goods factories are dedicated almost
                                                                                                   which it has begun dabbling.                     exclusively to creating Nike product,
                                                                                                      “At Nike, adversity has always been a         they haven’t been immune to labor and
                                                                                                   catalyst for innovation and fueled our           raw materials shortages. This has led to
                                                                                                   competitive separation, and the past two         increased shipping times from Asia to
                                                                                                   years have been no diﬀerent,” Campion            the U.S. by around four to six weeks, he
                                                                                                   said. “The challenges and constraints            said. Although better than many other
                                                                                                   imposed by the pandemic have driven              companies, which are running a month
                                                                                                   our teams to transform how we serve              behind that number, it’s still not ideal.
                                                                                                   consumers through the implementation                “We might be in the kind of 80-day lead



 Nike
                                                                                                   of new technology platforms,                     time where we would ideally be in the 40s.
                                                                                                   automation and process improvement in            The industry is more like 120 days lead
                                                                                                   our operations.”                                 time into the U.S.,” he said.
          at                                                                                          Using AI and machine learning, Nike              Outside the U.S., Campion said the
                                                                                                   is leveraging technology to deliver              company is moving toward expanding the
                                                                                                   more quickly and precisely without               countries where it sources product. With
                                                                                                   compromising sustainability, the company         footwear, for example, 45 to 50 percent of
                                                                                                   said. Within its distribution centers, Nike      product is made in Vietnam and 15 percent
                                                                                                   is also using more than 1,000 “cobots”           in China.
                                              Andy Campion, chief operating officer of Nike Inc.
                                                                                                   (collaborative robots) to aid employees             “We want to be more agile and
                                                                                                   in the sorting, packing and movement of          resilient,” he said. “And so that means



Andy Campion
                                                                                                   products, increasing speed of processing.        diversifying where we make product.
                                                                                                      For the new center, Atlanta was chosen        We’re looking at a range of diﬀerent
                                                                                                   in part for its wealth of engineering talent,    countries like India, which is potentially a
                                                                                                   Campion said, as well as the fact that it        big opportunity.”



Offers a Peek
                                                                                                   is an “epicenter of sport, culture and              So with manufacturing as well as
                                                                                                   diversity.”                                      distribution, where it has been hampered
                                                                                                      He continued: “As I’ve gotten older,          by the logjam at the ports in Long Beach,
                                                                                                   I’ve realized just like most things in the       Calif., he said, “what we’re realizing is that


Behind the Curtain
                                                                                                   world, when you say supply chain, it’s not       the single points of scale aren’t sustainable



                                                                                                                                                                                                        Portrait by Meron Menghistab
                                                                                                   a conveyor belt, it’s people, it’s millions of   going forward.”
                                                                                                   people. And when you say technology, it’s           What is paramount, he said it making
                                                                                                   not a computer, it’s thousands of engineers      sure Nike delivers the right product to its
Improving speed to market by diversifying suppliers,                                               who are writing code and testing code            customers at the right time.
                                                                                                   and implementing it. So the whole idea              “This idea of right product — both the
opening local distribution centers and a new technology                                            was, if we’re going to be great at digitally     speciﬁc styles as well as volume — right
hub are in the company’s plans. BY JEAN E. PALMIERI                                                transforming this company, it’s going to         place and right oﬀer is increasingly an end-
                                                                                                   start with talent.”                              to-end supply chain issue,” he said.
Technology is the connective tissue that      transformational plan to see if we have to
keeps a company running.                      do this more immediately.”                           A Nike distribution
   So says Andy Campion, chief operating         The answer was yes.                               center in Ham, Belgium.
oﬃcer of Nike Inc., who navigates the            Although the company had known
company’s enormous and exceedingly            for a while that everyone from kids to
complex global supply chain to ensure         grandparents were connecting, shopping
the right product winds up in consumers’      and buying digitally, the health crisis
hands at the right time.                      ampliﬁed this channel choice. And with all
   Even before the pandemic wreaked           stores closed, Nike’s entire business was
havoc on manufacturing and the delivery       now digital.
of materials and products, Nike had              Since Nike started out as a wholesaler
launched a strategy that it calls the         50 years ago, the company’s supply chain
Consumer Direct Oﬀense, Campion said,         had been largely set up to service other
which focused on key cities, accelerated      retailers. “But what we realized is, we’re
product creation and mobile shopping.         going to need to transform — not only go
   “We needed to move from focusing           direct, but transform our supply chain,
on the Olympics and World Cup to more         because our supply chain to that point was
of a relentless ﬂow — a more consumer-        largely set up for wholesale,” Campion
focused ﬂow,” he said. “When we think         said.
the consumer will be ready for something         So instead of using its national
new, we should have it.”                      distribution center in Memphis, Tenn., as
   Then the pandemic hit and the company      a centralized shipping source to service
was faced with unprecedented challenges.      Foot Locker, Dick’s Sporting Goods and
“Should we close all our stores?” Campion     other retailers, Nike tripled its digital
recalled asking. “And if we’re going to do    distribution capability at that facility as it
that, what do we do with our distribution     sought to build a “digital-ﬁrst supply chain
centers? It was reactionary.”                 at scale,” Campion said.
   He tasked his team with “looking at that      It also opened regional service centers
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